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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED WHOLESALE                                 Case No. 2:23-cv-13176
MORTGAGE, LLC,                                   Hon. Laurie J. Michelson
                                                 Mag. Kimberly G. Altman
       Plaintiff,

v.

MADISON ATRINA LLC d/b/a
DISTRICT LENDING,

       Defendant.


         PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff United

Wholesale Mortgage, LLC (“UWM”) hereby discloses the following:

      UWM is a Michigan limited liability company with its principal place of

business at 585 South Boulevard East, Pontiac, Michigan 48341.

      UWM’s sole member and manager is UWM Holdings, LLC, which is

comprised of two members, SFS Holding Corp. and UWM Holdings Corporation.

      SFS Holding Corp. is incorporated in Michigan and has its principal place of

business in Michigan but is not a publicly traded corporation.

      UWM Holdings Corporation is incorporated in Delaware and has its principal

place in Michigan. UWM Holdings Corporation is a publicly traded company but

does not own more than 10% of UWM.
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         There is no publicly held corporation that holds more than 10% of UWM’s

stock.

                                   Respectfully submitted,

                                   By: /s/ Mahde Y. Abdallah
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                                   William E. McDonald, III (P76709)
                                   Mahde Y. Abdallah (P80121)
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Dated: December 14, 2023           Attorneys for United Wholesale Mortgage, LLC




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